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CRIMINAL PROCEEDINGS – Video Change of Plea/Notice of Sentencing


      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO


Judge David C. Nye                             Date: May 28, 2020
Case No. 1:19-cr-280-DCN-1                     Deputy Clerk: Sunny Trumbull
Place: Boise, ID                               Reporter: Anne Bowline
                                               Time: 11:38 – 11:59 a.m.

UNITED STATES OF AMERICA vs. CHRISTOPHER JOSEPH KATSIKARIS

Counsel for the United States: Frank Zebari (appearing telephonically)
Counsel for the Defendant: Craig Durham, CJA counsel (appearing by video)

(X) Defendant and counsel consented to proceeding by video and telephone.
(X) Court stated history of the case.
(X) Defendant sworn for examination by the Court.
(X) Court finds the defendant competent to enter plea.
(X) Defendant satisfied with the representation of his attorney.
(X) Sentencing Guidelines explained.
(X) Defendant advised of Constitutional Rights & Right to Counsel & Jury Trial.
(X) Indictment furnished to defendant.
(X) Court advised defendant of Maximum Penalties.
(X) Court reviewed the Plea Agreement.
(X) At the request of the Court, Counsel for the Government stated for the record the
elements and evidence of the charge. The defendant understands the elements and
evidence of the charge and agrees with the Government’s statement.
(X) Defendants right to appeal explained.
(X) Defendant withdrew previous plea of NOT GUILTY and entered a GUILTY Plea
to Count 1 of the Indictment. Court accepts guilty plea.

Sentencing set before Judge David C. Nye: August 20, 2020 at 2:00 p.m.
(X) Court ordered a presentence investigation report.
Original report to Counsel: July 9, 2020
Notification of Objections: July 23, 2020
Final Report Due: August 6, 2020

(X) Defendant remanded to the U.S. Marshal Service pending sentencing.
